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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

MEYER DEPO PART 2
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MR. DELEHUNT: Take your time.

MR. HIGGINS: Q. Do you recognize Exhibit 3, Mr.

Meyer?
A. Yes.
Q. What is Exhibit 3?
A. It was the Agreement adding Lodi Fire to the

public-private partnership.
Q. Okay. On the last page there, page 3, is that

your signature above American Medical Response, Inc.?

A. Yes.

Q. Did you sign this document on or about June i6th,
2004?

A Yes

Q. Did you read this document before you signed it?

A. Yes.

Q. I'd like you to -- let's see. I don't know how

we're going to do this because of the way in which the...
A. I'm flexible.
Q. Yeah. Well, you'll notice there's already been
confusion because of the nature of this exhibit.
MR. HIGGINS: Is it possible to take this apart?
THE REPORTER: Yes.
MR. HIGGINS: Let's go off the record.
(Off the record.)

MR. HIGGINS: Q. So I will give you --

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A. You gave me l.
Q. 1 and 3. We can go back on the record.
Mr. Meyer, I'd like to compare a couple of
parallel provisions between Exhibit 1 and Exhibit 3.
First of all, you see the first sentence of
Exhibit 3, "The purpose of this document is to establish
a Joint Venture Agreement between the City of Stockton,”

and then there's a list of all the parties.

A. Yes.

Q. Do you see that?

A. Yes.

Q. And when you read that, did you understand that

this Joint Venture Agreement was establishing a joint

venture?

MR. DELEHUNT: Calls for a legal conclusion,

_incomplete hypothetical. Asked and answered, vague and

ambiguous.

THE WITNESS: My understanding was that there was
still points to be negotiated to create the entities
necessary to a joint bid.

MR. HIGGINS: Q. Okay. But did you understand
that this Agreement established a joint venture involving
the parties named here --

MR. DELEHUNT: Asked and answered. I'm sorry.

MR. HIGGINS: Q. The City of Stockton, City of
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Lodi, AMR, and A-1?

MR. DELEHUNT: Asked and answered. Calls for a
legal conclusion, incomplete hypothetical, vague and
ambiguous.

(THE WITNESS: My understanding of this document
was the inclusion of Lodi Fire.

MR. HIGGINS: Q. And Lodi Fire was joining a
joint venture, correct?

MR. DELEHUNT: Calls for a legal conclusion,
asked and answered, incomplete hypothetical.

THE WITNESS: Lodi Fire was joining the effort to
present a joint bid.

MR. HIGGINS: Q.. Okay. Now, you see over in
Exhibit 1 the paragraph at the top, the first paragraph,
without a number.

The last sentence begins, "The terms will be
refined into a Joint Venture Agreement."

Do you see that?

A. Yes.
Q. Okay. If you look at the first paragraph of
Exhibit 3, the last sentence, that particular language is

no longer in the document; is that right?

A. Yes.
Q. Okay. Who removed that language?
A. I have no idea.

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1 A. Yes.

2. Q. Okay.

3 MR. HIGGINS: Let's mark next in order.

4 (Whereupon Plaintiff's Exhibit 12 was

5 marked. for Identification.)

6 MR. HIGGINS: This is Exhibit 12. For the

7 record, the court reporter has marked as Exhibit 12 a
8 two-page document entitled "Confidential Memorandum," on

9 AMR letterhead, with Bates numbers AMR 004105 through AMR

10 004106.
11 | THE WITNESS: ‘This exhibit has a blank page.
12 MR. HIGGINS: That's a mistake. It should be a

13 two-page exhibit. That's a photocopying error.

14 Can you agree? It is not Bates numbered.
15 MR. DELEHUNT: Yeah, that's fine.

16 MR. HIGGINS: The machine -- let me see if I can
17 remove it. Easier said than done, maybe.

18 THE WITNESS: As long as everybody understands
19 there's a blank page there.

20 MR. DELEHUNT: We can correct the deposition.

21 MR. HIGGINS: We'll correct the record by

22 removing the improper blank page between the Bates

23 numbered pages in Exhibit 12.

24 Q. Do you recognize this document?

25 A. Yes.
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Q. What is this document?

A. It is a memo from Brad White to myself in
reference to a proposal for hiring Donna McCann.

Q. You see it is ce'd to Chief Gillis and Barry
Elzig, Division Chief Hafey and Captain Ed Rodriguez. Do
you see that?

A. Yes.

Q. Okay. And Chief Gillis, Chief Hafey, Captain ~
Rodriguez, they all represented the City of Stockton in

connection with the joint effort to respond to the RFP,

‘right?

A. Yes.

Q. And this was a Confidential Memorandum that went
to them?

A. Yes.

Q. What did you expect those representatives of the

City of Stockton to do to maintain the confidence of this
particular document?

MR. DELEHUNT: Calls for speculation.

THE WITNESS: Number one, I didn't identify it as
a Confidential Memorandum, but the writer of the document
did.

MR. HIGGINS: Q. Okay.

A. What's the question?

Q. Well, when you saw that these people were being
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A. Yes.

Q. Okay. Did the members of the joint effort, City
of Stockton, City of Lodi, Ms. McCann, to your knowledge,
did they understand that information they shared was going
to be kept confidential by AMR?

MR. DELEHUNT: Calls for speculation, state of
mind of another person, vague and ambiguous.

MR. HIGGINS: Q. To your knowledge.

A. I would assume so.
QO. Why?
A. Because we weren't discussing any of this

information outside AMR organization.
Q. Why not?
A. Because we were in the process of a joint bid.
Q. Okay. So the other members of that joint venture
could trust AMR to keep things confidential?
MR. DELEHUNT: Argumentative as phrased, calls
for speculation.
THE WITNESS: I would assume so.
MR. HIGGINS: Q. Why? Why would you assume so?
MR. DELEHUNT: Argumentative. Asked and
answered.
THE WITNESS: Our general approach to RFPs is to
not put information out into the public.

MR. HIGGINS: Q. Why is that?
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A. So other bidders cannot have that information.

Q. Okay. Did you personally ever tell anyone
affiliated with the City of Stockton to keep this
information, some particular information, confidential?

A. I personally don't recall doing that.

Q. Is there any. side agreement addressing the
party's obligations to maintain information and
confidence, that you're aware of, that related to the
joint effort in response to the RFP?

MR. DELEHUNT: Vague and ambiguous, calls for

‘legal conclusion and speculation.

THE WITNESS: No.

MR. HIGGINS: Q. Do you recall whether the City
disclosed to AMR information about its ambulance service's
collection rates?

MR. DELEHUNT: . Vague and ambiguous. Calls for
speculation.

THE WITNESS: Yes.

MR. HIGGINS: Q. Did the City of Stockton reveal
such information to AMR?

A. Its agent did. |

Q. And who was that agent?

A. AIs.

Q. Okay. How about payor mix, did the City of

Stockton or anyone representing the City of Stockton
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numbers for its ambulance service?
A. . I did not.

MR. DELEHUNT: Overbroad. Vague as phrased.

MR. HIGGINS: Q. Do you know if anyone else at
AMR reviewed that kind of information?

MR. DELEHUNT: Objection, overbroad and vague as
phrased.

THE WITNESS: I don't know.

MR. HIGGINS: Q. Okay. And who at AMR reviewed
the City of Stockton's ambulance service costs

‘information, to your knowledge?

A. Tim Dorn.
Q. Anyone else?
A. Possibly Brad White and Barry Elzig, but, again,

I'm not sure.
Q. How about the City of Stockton's ambulance
service revenue information, who at AMR reviewed that?
A. I don't recall if we have that information.
Q. Okay. Is AMR currently preparing a response to

the RFP the county issued?

A. Yes.
Q. Is AMR working on that effort?
A. Yes.

Q. Okay. And who at AMR -- which actual employees

or representatives or contractors, who is doing that work

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for AMR, which individuals?

MR. DELEHUNT: I'm going to let this line of
questioning go for awhile, but there's going to be a time
when I'm going to cut it off. But you can go ahead and;
ask the question.

THE WITNESS: Can you ask the question?

MR. HIGGINS: Q. Yeah. What specific
individuals at AMR presently are working on AMR's response
to the county's REP?

A. Employees as well as contractors.
Q. Let's do employees first.

MR. DELEHUNT: Before we do that, we're going
to -- we're going to put this under seal, because I'm not
going to allow this to be -- I'm going to allow it to be -
responded to ina limited fashion, but we're not going to
allow this to go beyond attorneys' eyes only.

MR. HIGGINS: I think that's fine. I forgot to
mention, at the first deposition, Chief Gillis's.
deposition, Ms. Barnes and I agreed that originally all
deposition testimony would be designated on attorneys'
eyes only. And then pursuant to my understanding of the
protective order that you've proposed, the parties would
have a time to go back and specifically designate portions
of the deposition transcript, specifically confidential or

attorneys! eyes only, merely confidential, and some not
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confidential.

And so I would propose that we do that, we
provisionally make this transcript attorneys' eyes only.
And then, insofar as any testimony you believe should be

attorneys’ eyes only, you can specifically designate. I

think we have to make that designation before we make

our motions, but --

MR. DELEHUNT: As far as it goes, I'm going to go
along with that, but I'm not going to let the witness
testify in detail about the preparation of this bid.

MR. HIGGINS: Well, if you instruct the witness
not to answer, you do, so that's fine.

MR. DELEHUNT: Yeah.

MR. HIGGINS: We'll deal with that in the
appropriate way.

Q. Okay. The question pending is, employees,
employees only, which AMR employees currently were working
on the response to the county's RFP?

A. Lisa Valdez, Julie Bower, Barry Elzig, Brad

White. There's one more.

Q. Okay.
A. Lisa Chalmers.
Q. Did Lisa Valdez do any work at all related to the

joint effort between the City of Stockton and AMR?

A. No.
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Q.

Same question for Julie Bower?

No.
And Lisa Chalmers, same question?
No.

What is Barry Elzig doing in connection with the’

AMR's response to the RFP now?

MR. DELEHUNT: You can answer generically so far,

but when we get into proprietary information, I'm going to

instruct you not to answer. And if I miss something,

you'll let me know.

Go ahead and answer the question.

THE WITNESS: He's reviewing the credentialing

documents.

A.
Q.

A.

MR. HIGGINS: Q. Is that all he's doing?
Yes.
How about Brad White, what's he doing?

He's also reviewing the credentialing documents

and contemplating strategy.

Q.

What kind of strategy is Mr. White contemplating?

MR. DELEHUNT: If you can answer that

generically, that's fine. But if you can't, I'm going to

instruct you not to answer the question.

THE WITNESS: Strategy that will make us

responsive to the RFP.

MR. HIGGINS: Q. And what kind of strategy is
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A. I don't think we're going to go there.

MR. DELEHUNT: Okay.

MR. HIGGINS: Are you instructing the witness not

to answer?

MR. DELEHUNT: I am instructing the witness not
to answer at this point.

MR. HIGGINS: Q. Are you refusing to answer my
question?

MR. DELEHUNT: Based on attorney's advice.

MR. HIGGINS: I asked him a question.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay, thank you.

The preliminary RFP work for the City of
Stockton and the City of Lodi, did that continue on in
early 2005?

A, Not to my understanding.

Q. So in March, there was no joint effort involving

the City of Stockton and AMR, in March of.this year?
A. Ask your question again.
Q. In 2005 -- strike that.
That was a big leap, maybe the days got
confused.
In 2005, did AMR continue to work with the City

of Stockton and the City of Lodi in their joint effort

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to prepare a response to the RFP?
A. Yes.
Q. Okay. At some point did AMR propose that the

parties negotiate an LLC Agreement?

A. Yes.

Q. ° Do you remember when AMR first proposed an LLC
Agreement?

A. When the state transportation -- when the

county's transportation plan was approved by the state.
Q. Was there a connection between the approval of

‘that transportation plan and the decision to propose an

LLC?
A. Yes.
Q. What was the connection?
A. - The connection was that the state -- the

transportation plan approved by the state required a

Single entity be the bidder.

Q. And how did you know that?

A. I read it.

Q. You read the plan?

A. Yes.

Q. Okay. Did the plan define single entity?

A. It defined -- yes.
Q. Okay. Do you recall how it defines single

entity?

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A It used the word "single legal entity."
Q. Do you know if a partnership is a single legal
entity?
MR. DELEHUNT: Calls for legal conclusion,
speculation.
MR. HIGGINS: I'm just asking.
Q. Do you know whether a partnership is a single

MR.

‘legal entity?

DELEHUNT: Same objections.

THE WITNESS: It could be.

MR.

HIGGINS: Okay.

Let's mark next in order.

(Whereupon Plaintiff's Exhibit 13 was

marked for Identification.)

MR.

RISHWAIN: Excuse me. I'm going to have to

leave. See you later.

MR.

HIGGINS: Q. For the record, what's been

marked by the court reporter as Exhibit 13 is a

single-page

document, handwritten, bearing the Bates

number CS 003212..-

Do you recognize this document, Mr. Meyer?
A. I recognize it as a sign-in sheet.
Q. You remember -- you see the second from the

bottom, you

see --

A. That's my handwriting, yes.

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MR. HIGGINS: Mark next in order.

(Whereupon Plaintiff's Exhibit 17 was

marked for Identification.)

MR. DELEHUNT: I think this is the same document.
I think you handed me the same document. This is the
prior document.

THE WITNESS: It is the prior document.

MR. HIGGINS: Oh, I'm sorry. Let's withdraw --
can you cancel Exhibit 16? I apologize.

MR.. DELEHUNT: Exhibit 17.

MR. HIGGINS: I'm sorry. I got confused. Here's
the one for 17.

Q. Do you recognize this e-mail that's printed out

as Exhibit 17, Mr. Meyer?

A. Yes.
Q. For the record, it is a single page, Bates number
AMR 000266.

You see the reference at the end of the
sentence in the first -- first e-mail in the string,

"Prior to the Stockton war on the 15th"?

A. Okay.

Q. Did you receive this e-mail and read it --
A. Yes.

Q. -- before April 15th?

A. Most likely, yes.
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considered exorbitant?

MR. DELEHUNT: Calls for speculation. Incomplete
hypothetical.

THE WITNESS: Again, I think that the April 15th

_ meeting was, again, to try to rein Hafey back in to
reality.

MR. HIGGINS: Q. Who attended the April 15th
meeting?

A. Again, I don't recall if the April 15th meeting
actually took place.
: MR. HIGGINS: Let's mark next in order.

(Whereugon Plaintiff's Exhibit 18 was

marked for Identification.)

MR. DELEHUNT: Take your time looking at this
letter, Mr. Meyer.

MR. HIGGINS: Especially since we're getting
close to the end of the deposition period.

MR. DELEHUNT: Especially since it is a
three-page letter. And I assume you're going to ask hima
number of questions about it, and I'd like him --

MR. HIGGINS: Let the record reflect that the
court reporter has marked Exhibit 18, a three-page
document Bates numbered CS 001807 through and including CS
001809.

Q. Do you recognize Exhibit 18, Mr. Meyer?
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A. I do.

Q. Did you draft Exhibit 18, Mr. Meyer?

A. I was part of the drafting of this letter.

Q. Who else worked on this letter?

A. Brad White, and counsel.

Q. Okay. Turning to the last page of the letter, is

that your signature?
A. Yes.

Q. Did you sign and send this letter to Fire Chief

Gary Gillis on or about March 21st, 1985?

A. I did.
Q. What was the purpose of this letter?
A. Again, to let him know the major difficulties

that we were having with the latest Dave Hafey requests.
Q. Okay. Did you itemize on particular issues, is

that why you have headings throughout?

A. Yes.

Q. Okay. There's no heading about Dave Hafey, is
there?

A. No.

Q. Okay. Over on the last page, final paragraph,
first sentence says, "As time is of the essence, AMR
requests that Stockton take immediate action to help us
resolve these matters prior to April 7th, 2005."

Did you choose April 7th, 2005, as the response
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time that. AMR requested here?

A. I did.

Q. Why did you choose that date?

A. Because on April -- we were expecting on or about
April the 15th the release of the San Joaquin County RFP
by the Board of Supervisors.

MR. HIGGINS: Let's mark next in order.

(Whereupon Plaintiff's Exhibit 19 was

marked for Identification.)

MR. HIGGINS: For the record, the court reporter
“has marked as Exhibit 19, a three-page document, Bates
numbered AMR 003063 through and including AMR 003065.

Q. Do you recognize what's been marked as Exhibit
19, Mr. Meyer?

A. Yes.

Q. And what is Exhibit 19?

A. It is a letter to me from Chief Gillis.

Q. Okay. Did you receive this letter from -- or did
you receive this letter on or about April 7th, 2005?

A. I don't recall the date I received it.

Q. Okay. You recall receiving this letter, though?

A. Yes.

Q. Okay. Turning over to the last page. See the
paragraph there without a number, "I appreciate" -- see
the sentence beginning that -- with those words, "I

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appreciate"?

A. Yes.

Q. Okay. Did you in fact extend the City's time to
respond to Exhibit 18 to April 15th?

A. I did.

Q. . Okay. And then AMR and the City scheduled a
meeting for April 15th, right?

A. We did.

Q. So essentially Exhibit 18 were ail the points
that AMR was going to go to war with the City on
“April 15th, right?

MR. DELEHUNT: That's argumentative.
THE WITNESS: Would you say that again?

MR. HIGGINS: Q. Exhibit 18, which is your

letter.
A. Yes.
Q. That's a description of all the points that AMR

was going to go to war with the City on April 15th, right?

MR. DELEHUNT: Vague and ambiguous.
Argumentative. Calls for speculation. Compound and
misstates prior testimony.

You can answer.

THE WITNESS: The Exhibit 18 articulates the
major outstanding issues.

MR. HIGGINS: Q. And you were going to discuss
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those at the April 15th meeting?
A. Yes.
Q. Okay. Did you understand -- well, did you
understand Exhibit 19 was a direct response to Exhibit 18?
MR. DELEHUNT: Vague and ambiguous.

MR. HIGGINS: Q. That Chief Gillis was directly

_xesponding point by point to the letter that you had sent

him on March 21st, 2005?

MR. DELEHUNT: Objection, mischaracterizes the
document. Vague and ambiguous. Argumentative.
THE WITNESS: I looked at the April 7th letter as
a feedback from our March 23rd meeting.
MR. HIGGINS: Q. Okay. So you had a March 23rd
meeting two days after you sent your March 21st letter?
A. Yes.
Q. Who met on March 23rd?
A. I believe in that meeting was Mark Lewis, Chief
Gillis, myself, Brad White, and Dave Hafey.
Q. Okay. At this meeting on March 23rd, was there
any discussion of first responder fees?
A. I believe so.
Q. Okay. Was there disagreement over first
responder fees at that meeting?
MR. DELEHUNT: Vague and ambiguous, overbroad.

THE WITNESS: At this meeting, Mark Lewis
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commented that he understood my concerns about including

first responder fees on top of the ambulance

transportation costs, because he understood, as well as I
. did, that it could make us noncompetitive.

MR. HIGGINS: Q. So Looking at Exhibit 19,
number 2, see that first sentence, "Both AMR and the City
have agreed to include, as part of the proposed fee
structure, a first responder fee"?

AL I see that.
Q. Okay. Did that sentence inaccurately reflect
“your understanding of the agreement on that issue at the

March 23rd meeting?

A. Yes.

Q. Okay. Now, this letter came from Chief Gillis,
right?

A. Yes.

Q. Did you contact Chief Gillis to talk to him about

that sentence after you received this letter?

A. No, because I -- we had scheduled an April 15th
meeting.
Q. Okay. At that March 23rd meeting, did anyone

from the City make any representations about the
$3.5 million in debt that had been in discussion?
A. Yes.

Q. Who made representations?
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A. Both mysel£ and Mark Lewis.

Q. Okay. What did Mark Lewis say?

A. Mark Lewis characterized them as capitalization
costs and not bad debt.

Q. And what bearing did that have on negotiations
for -- between the City and AMR?

A. Well, the bearing was that we weren't going to
bring into the LLC the City's bad debt or start-up costs.

Q. How did the City propose to bring into the LLC
bad debt or start-up costs?

A. Dave Hafey said that those things needed to be
recouped through the LLC per the direction of the City
Manager.

Q. When did Dave Hafey say that?

A. Prior to my March 21st letter to the Chief.

Q. Did anybody representing the City -- after Dave
Hafey said that, did anybody representing the City ever
tell you personally that the City did not intend to recoup
any of those costs through the joint effort with AMR?

A. No. The comment was that they would not
initially recoup those costs through the LLC, but in the

out years, they needed to recoup those costs.

Q. Who made that comment?
A. Tt was either Gillis or Lewis. I'm not sure
which.

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Q. And when did either of those two gentlemen make
that comment?

A. I believe it was during the March 23rd meeting.

Q. Did AMR expect to -- strike that.

When AMR responds to an RFP in California for
an exclusive operating area for ambulance service, does
AMR intend to make a profit from that service?

A. Yes.

Q. Okay. So if the LLC had occurred between the
City of Stockton and AMR, and it had made a profit, some
‘of that profit would have gone to the City of Stockton,
right? ©

MR. DELEHUNT: Incomplete hypothetical,
argumentative, calls for speculation, assumes facts not in
evidence. Compound, incomplete hypothetical.

MR. HIGGINS: Q. Right?

A. Yes.

Q. Okay.

MR. HIGGINS: How much time so we have left?

Let's mark next in order.

(Whereupon Plaintiff's Exhibit 20 was

marked for Identification.)

MR. HIGGINS: For the record, the court reporter
has marked as Exhibit 20 a multi-page document, Bates

numbered CS 002097 through and including 2106.
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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on August 8, 2005, at 10:00 a.m., the witness
herein, LOUIS MEYER, was duly sworn:

That said witness' testimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein;

That I am a disinterested person, and am not in any way
interested in the- outcome of said action; nor connected with
nor related to any of the parties in said action, nor to
their respective counsel;

---o000---

On August 9, 2005, all counsel were given notice of the
preparation of the deposition, and the original deposition
was available for reading, correcting, approval, or signing
in our offices until September 14, 2005.

---000---
The witness signed the deposition and made no

corrections.

The witness and parties waived examination and reading
of the deposition at the time of the taking of the
deposition.

The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.

The witness failed to appear at my office.

The witness appeared in my office, made changes to the
deposition, and counsel were provided with copies of the
changes.

The witness refused to approve or sign the deposition
for the following reasons: .

Other:

IN WITNESS WHEREOF, I have hereunto subscribed my hand.

ATE: 4
“Ve, boy Sto KELLY

BOBBIE JO MARR, CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY
QUESTIONS.

